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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


 UNITED STATES OF AMERICA                       §
                                                §
 vs.                                            §                     2:99-CR-00003-006
                                                §
 KELVIN BERNARD WORTH                           §


                                    MEMORANDUM ORDER

        The above-entitled and numbered criminal action was heretofore referred to United States

 Magistrate Judge Chad Everingham pursuant to 28 U.S.C. § 636. The report of the Magistrate Judge

 which contains his proposed findings of fact and recommendations for the disposition of such action

 has been presented for consideration. See Dkt No. 376. No objections were filed to the Report and

 Recommendation. The court is of the opinion that the findings and conclusions of the Magistrate

 Judge are correct. Therefore, the court hereby adopts the report of the United States Magistrate

 Judge as the findings and conclusions of this court. Accordingly, it is hereby

        ORDERED that the defendant’s supervised release be REVOKED. Based upon the

 defendant’s conviction in case number 2:05CR00003-003, as affirmed by the Fifth Circuit, for

 Possession with Intent to Distribute and Distribution of Cocaine Base, the court finds that the

 defendant violated his conditions of supervised release. It is further

        ORDERED that the defendant be committed to the custody of the Bureau of Prisons to be

 imprisoned for a term of thirty (30) months, consecutive to the term of imprisonment the defendant

 is currently serving in case number 2:05CR00003-003, with no term of supervised release to follow

 such term of imprisonment.


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     SIGNED this 6th day of August, 2007.




                                                ____________________________________
                                                DAVID FOLSOM
                                                UNITED STATES DISTRICT JUDGE




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